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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MAINE



THE FAMILY PLANNING ASSOCIATION OF                          )
MAINE D/B/A MAINE FAMILY PLANNING,                          )
on behalf of itself, its staff, and its patients, et al.,   )   Case No. 1:19-cv-00100-LEW
                                                            )
Plaintiffs,                                                 )
                                                            )
v.                                                          )   NOTICE OF APPEAL
                                                            )
UNITED STATES DEPARTMENT OF                                 )
HEALTH AND HUMAN SERVICES, et al.,                          )
                                                            )
                                                            )
Defendants.                                                 )
                                                            )




         Pursuant to Fed. R. App. P. 3(c)(1), notice is hereby given that The Family Planning

Association of Maine d/b/a Maine Family Planning, on behalf of itself, its staff, and its patients;

and J. Doe, DO, MPH, individually and on behalf of Dr. Doe’s patients, plaintiffs in the above-

named case, hereby appeal to the United States Court of Appeals for the First Circuit from the

final judgment and order denying Plaintiffs’ Motion for Summary Judgment, and granting

Defendants’ Motion to Dismiss or in the Alternative for Summary Judgment, which was entered

in this action on the 9th day of June, 2020 (ECF No. 126).
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Dated: August 7, 2020              Respectfully submitted,

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                                   & Dr. J. Doe

*Admitted Pro Hac Vice




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